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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA


 KAYLA DENISE CURTIS,

        Plaintiff,
                                                   Case No. CIV-20-220-RAW-KEW
 v.

 KILOLO KIJAKAZI, Commissioner of the
 Social Security Administration,

        Defendant.


               ORDER AFFIRMING DECISION OF THE COMMISSIONER



       On September 14, 2021, the United States Magistrate Judge entered a Report and

Recommendation in the above-referenced case, recommending that this Court affirm the

Commissioner’s decision upholding on appeal the findings of the Administrative Law Judge

(“ALJ”), denying benefits to Plaintiff [Docket No. 19] . The Plaintiff has filed an objection to

the Magistrate Judge’s Report and Recommendation within the time prescribed by law. 28

U.S.C.§636(b)(1); Fed. R. Civ. P. 72(a) [Docket No. 20]. Claimant objects to the Magistrate

Judge’s Report and Recommendation asserting that the ALJ committed error in failing to

properly assess Claimant’s mental health listing level of severity; failing to properly consider,

evaluate, weigh, and account for medical evidence and opinions; and failing to properly assess

Claimant’s credibility.

       Upon full consideration of the record and the issues herein, this court finds that the

Magistrate Judge’s recommendation to affirm the ALJ is well-supported. The ALJ’s decision is

supported by substantial evidence, and the correct legal standards were applied.
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       Accordingly, the Report and Recommendation of the United States Magistrate Judge is

hereby AFFIRMED and ADOPTED as this court’s Findings and Order. The decision of the

Commissioner is affirmed.



       IT IS SO ORDERED this 29th day of September, 2021.

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                                          _____________________________________
                                          The Honorable Ronald A. White
                                          United States District Judge
                                          Eastern District of Oklahoma




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